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 9   Attorneys for Defendant Nevada Property 1 LLC
       dba The Cosmopolitan Hotel
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11                               UNITED STATES DISTRICT COURT
12                                      DISTRICT OF NEVADA
13
     JACOB NADAV;                                        CASE NO: 2:23-cv-01116-RFB-EJY
14
                   Plaintiff,
15
     vs.                                                 STIPULATION AND ORDER FOR
16                                                       DISMISSAL WITH PREJUDICE
     NEVADA PROPERTY 1 LLC, d/b/a
17   COSMOPOLITAN HOTEL; a domestic limited
     liability company; DOE EMPLOYEES OF THE
18   COSMOPOLITAN HOTEL; DOES 1-25,
     inclusive; ROE CORPORATION 1-25, inclusive,
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                   Defendants.
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            Plaintiff, JACOB NADAV, by and through his attorney of record, Alison M. Brasier, Esq.
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     of HICKS & BRASIER, PLLC, and Defendant, NEVADA PROPERTY 1 LLC dba THE
23
     COSMOPOLITAN HOTEL (“Defendant”) by and through its attorneys of record, Larry H. Lum,
24
     Esq., Karen L. Bashor, Esq. and Alexandra B. McLeod, Esq. of the law firm of WILSON, ELSER,
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     MOSKOWITZ, EDELMAN & DICKER, LLP, do hereby stipulate and agree that all claims in this action
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     are dismissed with prejudice with each party bearing its own fees and costs. The parties further
27
     agree that any and all upcoming Court hearings can be vacated, and any jury fees returned.
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 1        IT IS SO STIPULATED:

 2
     Dated: November 14, 2024                        Dated: November 14, 2024
 3
     WILSON, ELSER, MOSKOWITZ,                       HICKS & BRASIER, PLLC
 4   EDELMAN & DICKER LLP
 5
     /s/ Alexandra B. McLeod                         //s/ Alison M. Brasier
 6   Karen L. Bashor, Esq.                           Alison M. Brasier, Esq.
     Nevada Bar No. 11913                            Nevada Bar No. 10522
 7   Alexandra B. McLeod, Esq.                       Tex J. Boonjue, Esq.
     Nevada Bar No. 12869                            Nevada Bar No. 15016
 8   Attorneys for Defendant Nevada Property 1 LLC   Attorneys for Plaintiff
     dba The Cosmopolitan Hotel
 9

10                                            ORDER

11          IT IS SO ORDERED:

12
            DATED: November 15, 2024
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14                                            RICHARD F. BOULWARE, II
                                              UNITED STATES DISTRICT JUDGE
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